                             IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
- -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - x
PETROCHOICE HOLDINGS, INC.                                       :
                           Plaintiff,                            : CIVIL ACTION
                                                                 :
         - against -                                             :
                                                                 : No. 19-6152-JMG
FRANCIS S. OROBONO, JR.,                                         :
                                                                 :
                           Defendant.                            :
- -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - :
                                                                 :
                                                                 x

                                            APPENDIX

Exhibit 1 – Declaration of Robert Walker in Support of Plaintiff’s Motion for Summary Judgment

Exhibit 2 – Defendant’s Responses to Plaintiff’s Requests for Admissions Dated September 8, 2020

Exhibit 3 – Deposition of Defendant Francis Orobono Dated September 22, 2020

Exhibit 4 – Deposition of Robert Walker Dated November 3, 2020

Exhibit 5 – Deposition of Torri Fetzner Dated February 19, 2021

Exhibit 6 – Deposition of Scott Williams Dated February 21, 2021

Exhibit 7 – Deposition of Corey McCalicher Dated February 9, 2021

Exhibit 8 – Deposition of David DiGiacomo Dated November 3, 2020




4818-3600-5612.1                                  1
         Dated this 1st day of June, 2020.

                                             Respectfully Submitted,

                                             LEWIS BRISBOIS BISGAARD & SMITH LLP

                                             By: __/s/ Kayla Dawn Dreyer_______________
                                                 Steven D. Urgo
                                                 550 E. Swedesford Road, Suite 270
                                                 Wayne, Pennsylvania 19087
                                                 Telephone: 215.977.4078
                                                 E-mail: steven.urgo@lewisbrisbois.com
                                                 Attorneys for Plaintiff
                                                 PetroChoice Holdings, Inc.

                                                 Jon Jay Olafson
                                                 1700 Lincoln Street, Suite 4000
                                                 Denver, CO 80203
                                                 Telephone: 303.861.7760
                                                 Jon.Olafson@lewisbrisbois.com

                                                 Kayla Dawn Dreyer
                                                 1700 Lincoln Street, Suite 4000
                                                 Denver, CO 80203
                                                 Telephone: 303.861.7760
                                                 Kayla.Dreyer@lewisbrisbois.com




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                              CERTIFICATE OF SERVICE

     I hereby certify that on this 1st day of June, 2020, the undersigned served the foregoing
APPENDIX upon counsel via ECF:

Joel L. Frank
Lamb McErlane PC
24 East Market Street
P.O. Box 565
West Chester, PA 19381-0565
jfrank@lambmcerlane.com

Mary-Ellen H. Allen
Lamb McErlane PC
24 East Market Street
P.O. Box 565
West Chester, PA 19381-0565
mallen@lambmcerlane.com
mallen@chescolaw.com

                                           /s/      Kayla Dawn Dreyer
                                                 A duly signed original is on file at the
                                                 Law Offices of LEWIS BRISBOIS




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